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                                                        October 7, 2024

VIA ECF
Honorable Leda D. Wettre
United States Magistrate Judge
USDC District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

         Re:      Admission Pro Hac Vice of Counsel on Consent
                  United States, et al. v. Apple Inc., Civil Action No. 2:24-cv-04055-JXN-LDW

Dear Judge Wettre:

        I represent Non-Party JPMorgan Chase Bank, N.A. (“Chase”) in the above-referenced
matter. Pursuant to Local Civil Rule 101.1(c), Chase hereby submits this application for the pro
hac vice admission of Marc Goldman of the law firm Massey & Gail LLP. Counsel for Plaintiffs
and Defendant consent to this application.

In support of this application, enclosed please find:

         1. Declaration of Christopher B. Turcotte in support of application for admission of Marc
            A. Goldman pro hac vice;
         2. Declaration of Marc A. Goldman.

        Should the enclosed proposed form of Order be acceptable to Your Honor, we respectfully
request it be entered. Should Your Honor have any questions, we are available at your convenience.

                                                        Respectfully,
                                                        /s/ Christopher B. Turcotte
                                                        Christopher B. Turcotte

cc: All Counsel of Record via ECF
